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 UNITED STATES DISTRICT COURT                    NOT FOR PUBLICATION

 EASTERN DISTRICT OF NEW YORK
 ------------------------------------X
 UNITED STATES OF AMERICA                        MEMORANDUM AND ORDER


             - against -                         10-cr-809 (S-4)(KAM)
 CHRISTOPHER BARRET et al.,
                   Defendants.
 ------------------------------------X
 MATSUMOTO, United States District Judge:


             On November 23, 2011, defendant Omar Mitchell filed a

 motion to suppress his alleged post-arrest statements.              (See ECF

 No. 305-1, Pre-Trial Motions by Omar Mitchell (“Mitchell Mem.”)

 at 5.)   On November 29, 2011, Mitchell submitted an affidavit

 based on personal knowledge that raised a disputed material

 factual issue warranting a hearing regarding the validity of any

 waiver he may have signed before making statements while in

 custody.    (See ECF No. 319, Declaration in Support of Motion to

 Suppress by Omar Mitchell (“Mitchell Aff.”).)


             The court held a suppression hearing on December 16,

 2011, during which the court heard testimony from a government

 witness and admitted into evidence as Government Exhibit 1

 Mitchell’s signed waiver of rights.         (See Minute Entry dated

 12/16/2011.)    Mitchell and the government declined to submit

 post-hearing briefing and the court denied Mitchell’s motion to

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 suppress based on the testimony and evidence received at the

 hearing.    (Id.)   Due to a technical failure that was recently

 discovered, however, the suppression hearing was not recorded.

 (See Order dated 12/20/2011.)          The government and Mitchell

 subsequently executed a stipulation as to certain testimony and

 evidence at the hearing.      (See ECF No. 400-1, Stipulation

 (“Stip.”); ECF No. 400-2, Advice of Rights Form (“Ex. 1”).)

 Accordingly, this Memorandum and Order memorializes the court’s

 December 16, 2011 oral decision denying Mitchell’s motion to

 suppress.


                                 BACKGROUND


    I.    Mitchell’s Affidavit


             Mitchell asserts that he was arrested in connection

 with the instant prosecution at the office of his supervising

 probation officer in Bridgeport, Connecticut on September 22,

 2011.   (Mitchell Aff. ¶ 2.)      Following his arrest, he was

 questioned by several law enforcement officers and given a form

 to sign.    (Id. ¶¶ 3-4.)    Mitchell’s affidavit states that when

 he informed one of the officers that he could not read and

 requested that the form be read to him, the officer told

 Mitchell that the form was a warrant for Mitchell’s arrest.

 (Id. ¶ 4.)    Mitchell’s affidavit also states that the officer

 also told Mitchell “in an exasperated tone that if [Mitchell]

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 did not want to talk to them, he did not have to.”             (Id.)

 Mitchell states that at the time, he signed the form and placed

 his initials as instructed, but learned only after meeting with

 his attorney that he had actually signed a waiver of his Miranda

 rights.    (Id. ¶ 6.)     Consequently, Mitchell asserts that

 although he signed the waiver, he did not have a meaningful

 appreciation of the rights listed on the waiver, such as his

 legal right to remain silent or the fact that anything he said

 could be used against him.       (Id. ¶ 8.)


     II.   Evidence Received At the Suppression Hearing


             The government and Mitchell stipulate that during the

 December 16, 2011 suppression hearing, New York State Police

 Trooper Roger Fortune testified that on September 22, 2011, he

 participated in Mitchell’s arrest at the offices of Mitchell’s

 probation officer in Connecticut.          (Stip. ¶¶ 1-2.)     At the

 suppression hearing, Trooper Fortune further testified that he

 observed Postal Inspector James Buthorn read to Mitchell the

 entirety of an “Advice of Rights” form, which Trooper Fortune

 identified, and the court admitted, as Government Exhibit 1. 1

 (Id. ¶ 2; Ex. 1.)       Furthermore, Trooper Fortune testified that

 after Inspector Buthorn read the listed rights aloud, Mitchell

 (1) indicated that he understood each of those rights;

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   The court received Government Exhibit 1 into evidence at the suppression
 hearing. (See Minute Entry dated 12/16/2011.)

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 (2) initialed and signed the “Advice of Rights” form; (3) agreed

 to speak with law enforcement officers; and (4) appeared to

 comprehend what was said to him during subsequent questioning

 and responded appropriately.       (See Stip. ¶ 2.)


                                  DISCUSSION


    III. Legal Standard


             “Miranda instructs generally that an uncounseled

 statement made by a defendant during custodial interrogation

 should be suppressed from use by the government in its case-in-

 chief unless the prosecution proves that the suspect voluntarily

 waived his right to counsel and privilege against self-

 incrimination.”     United States v. Gaines, 295 F.3d 293, 297 (2d

 Cir. 2002) (citing Miranda v. Arizona, 384 U.S. 436, 444

 (1966)).    “More specifically, when the government seeks to admit

 such statements at trial, it must prove by a preponderance of

 the evidence that the defendant relinquished his rights

 voluntarily with a full awareness of the rights being waived and

 the consequences of doing so.”         Id. (citing United States v.

 Male Juvenile, 121 F.3d 34, 39 (2d Cir. 1997)).             “If . . . a

 defendant is not advised of his Miranda rights prior to making

 his custodial statement, an irrebuttable presumption of

 compulsion arises and the state cannot show that the suspect



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 waived his rights voluntarily.”         Id. at 298 (citing Oregon v.

 Elstad, 470 U.S. 298, 307 (1985)).


             There is “no per se rule that bars oral or implicit

 waivers.”    Id. at 297 (citing North Carolina v. Butler, 441 U.S.

 369, 373 (1979)).       Rather, a court must make a case-by-case

 determination based upon the totality of the circumstances.”

 Id. at 297-98.     The “totality of circumstances” includes whether

 the defendant was advised of his Miranda rights orally or in

 writing; whether the defendant acknowledged his understanding of

 the rights; whether the defendant appeared to be under the

 influence of drugs or alcohol; and whether the defendant

 appeared to understand and respond to an investigator’s

 questions.    See United States v. English, 293 F. App’x 39, 41

 (2d Cir. 2008).


    IV.     Application


             Under the totality of the circumstances, the court

 finds that Mitchell knowingly and voluntarily waived his Miranda

 rights following his arrest.        The court notes that “the

 inability of an accused to read or write is a factor to be

 considered in deciding the voluntariness of a confession.                But

 that inability by itself does not mean a suspect cannot make a

 knowing, intelligent and voluntary waiver of his right to remain

 silent.”    Gaines, 295 F.3d at 296.

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             In Gaines, a district court found that an illiterate

 individual knowingly and voluntarily waived his Miranda rights

 upon receiving credible testimony from a detective that (1) he

 read to defendant from a Treasury Department form that spelled

 out the Miranda warnings in detail, and (2) defendant verbally

 acknowledged his understanding of the rights read to him.               295

 F.3d at 298-99.     The Circuit Court noted that it “would be

 preferable to have physical evidence supporting [the

 detective’s] testimony, such as [defendant’s] signature of

 acknowledgment,” but found no error in the district court’s

 finding.    Id. at 299.


             In the instant case, Trooper Fortune’s testimony,

 which the court found credible, established that Inspector

 Buthorn read the list of rights in Government Exhibit 1 to

 Mitchell and that the defendant acknowledged his understanding

 of each of those rights both verbally and by initialing and

 signing the “Advice of Rights” form.         During the suppression

 hearing, the court was satisfied that Mitchell was advised of

 and acknowledged all of his Miranda rights based on Trooper

 Fortune’s testimony and the court’s review of Government Exhibit

 1, which lists each Miranda right and is initialed and signed by

 Mitchell.    (See Ex. 1.)    Accordingly, the court denied

 Mitchell’s motion to suppress his post-arrest statements.



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                                 CONCLUSION


             For the foregoing reasons, the court denied Mitchell’s

 motion to suppress his post-arrest statements during the

 suppression hearing on December 16, 2011.


 SO ORDERED.


 Dated: December 31, 2011
 Brooklyn, New York
                                    _________/s/__________________
                                    KIYO A. MATSUMOTO
                                    United States District Judge
                                    Eastern District of New York




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